                                Case 1:22-mj-00206-GMH Document 9 Filed 10/26/22 Page 1 of 1
AO 442 (Rev. 11/11) Arrest Warrant




                                                    UNITED STATES DISTRICT COURT
                                                                                      for the

                                                                           District of Columbia

                        United States of America
                                    v.                                                   )
                                                                                         )        Case No.
                           Henos Woldemichael
                                                                                         )
                                                                                         )
                                                                                         )
                                                                                         )
                                   Defendant


                                                                        AMENDED ARREST WARRANT
To:         Any authorized law enforcement officer


            YOU ARE COMMANDED                         to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                              Henos Woldemichael
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment               o     Superseding Indictment                   o Information          o   Superseding Information           .N   Complaint
o     Probation Violation Petition                    o   Supervised Release Violation Petition                o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:
 18 U.S.C. § 23 I (a)(3)- Civil Disorder,
 18 U.S.C. § 1752(a)(I)-    Entering and Remaining    in a Restricted   Building or Grounds,
 18 U .S.C. § I 752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
 40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,
 40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.
                                                                                                                              Digitally signed
                                                                                                                              by Moxila A.
                                                                                                         Ali 1Jrd----.-_      Upadhyaya
                                                                                                                              Date: 2022.09.28
                                                                                                                              17:37:59 -04'00'
Date:              09/28/2022
                                                                                                                  Issuing officer's signature


City and state:                         Washington, D. C.                                           Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                                                  Printed name and title


                                                                                      Return

            This warrant was received on              (date)
at   (city and state)      \\(Abb \ t\jk       1\    Dl ,

Date:        lO/lh/ZOUL-
               ,
